         Case 6:21-cv-00569-ADA Document 232 Filed 07/14/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


 TOUCHSTREAM TECHNOLOGIES,
 INC.,
             Plaintiff,                             Case No.: 6:21-cv-00569-ADA
          v.
                                                    JURY TRIAL DEMANDED
 GOOGLE LLC,

                     Defendant.


                 OMNIBUS ORDER REGARDING PRETRIAL MOTIONS
                     (DKT. NOS. 127, 129, 130, 133, 134, 135, 136)

       The Court, having considered the pretrial motions filed by Plaintiff Touchstream

Technologies, Inc. (“Touchstream”) and Defendant Google LLC. (“Google”) (Dkt. Nos. 127, 129,

130, 133, 134, 135, 136) and the parties’ arguments at the June 28, 2023 Pretrial Conference (Dkt.

No. 223), rules as follows:

             Motion                                         Ruling
Touchstream's Motion for     GRANTED as to Plaintiff’s motion for Validity Under
Summary Judgment of Validity 35 U.S.C. 101.
Under 35 U.S.C. 101 and To
Dispose of GTS "System"      DENIED as to everything else.
Theories [ECF 134]
Google's Motion for Summary       The Court construes “server system” and the “display
Judgment [ECF 130]                device” as plain and ordinary meaning.

                                  GRANTED as to extraterritorial activity damages.

                                  DENIED as to pre and post suit willful infringement and
                                  permanent injunction.


Touchstream's Motion to           GRANTED as to the exclusion of the Twonky system
Exclude Portions of Google's      because the Twonky system has “materially identical”
                                  disclosures as the prior art it could have relied on in the



                                                1
        Case 6:21-cv-00569-ADA Document 232 Filed 07/14/23 Page 2 of 2




            Motion                                      Ruling
Invalidity Contentions and      IPR. Dr. Meyer-Patel does not even cite the non-public
Expert Report [ECF 136]         Twonky documents for half of the claim limitations, and
                                he certainly does not rely on them exclusively for any
                                limitation. See Wasica Fin. GmbH v. Schrader Int’l,
                                Inc., 432 F. Supp. 3d 448, 454– 55 (D. Del. 2020).

                                DENIED AS MOOT reliance on the Boxee and Zelfy
                                Peel Systems and the Schwartz declaration.


Google's Daubert Motion to      DENIED. .
Exclude Certain Opinions of
Damages Expert Mark J.
Chandler [ECF 129]
Touchstream's Motion to         DENIED as to the opinions on the Google TV System
Exclude Expert Testimony of     (GTS).
Dr. Ketan Mayer-Patel [ECF
135]                            DENIED AS MOOT with respect to the Twonky System
                                and 35 U.S.C. § 101.


Google's Daubert Motion to    GRANTED as to any legal conclusions in Dr.
Exclude Certain Expert        Almeroth’s report and opinions on secondary
Opinions of Dr. Almeroth [ECF considerations of non-obviousness.
127]
                              DENIED as to his discussion on technical direction and
                              control.


Touchstream's Motion to        DENIED.
Exclude Certain Opinions and
Testimony of Google's Damages
Expert Christopher A. Martinez
[ECF 133]



SIGNED this 14th day of July, 2023.




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